Case 2:18-cv-00435-EWH-RJK Document 61 Filed 12/20/24 Page 1 of 3 PageID# 382




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

UNITED STATES OF AMERICA and                     )
the COMMONWEALTH OF VIRGINIA                     )
                                                 )
       ex rel. ERIN CRAIG,                       )
                                                 )   Case No.    2:18-cv-435-EWH-RJK
                                                 )
                      Plaintiffs,                )
                                                 )
v.                                               )
                                                 )
SCOTT SAFFOLD, MD and                            )
CHESAPEAKE BAY ENT, P.C.,                        )
                                                 )
                      Defendants.                )
                                                 )

                                       STATUS REPORT

       Plaintiffs United States and the Commonwealth of Virginia (collectively, the Government),

and Defendants Scott Saffold and Chesapeake Bay ENT, P.C., (collectively, the Parties) have

agreed on language to finalize their settlement-in-principle concerning the claims set forth in the

Government’s Complaint in Intervention. The Parties are only waiting on the necessary signatures

from Government officials. The Parties now anticipate the settlement agreement will be finalized

by December 30, 2024, and that the Parties will be prepared to move to dismiss the matter by

January 10, 2025.

                                                     Respectfully submitted,

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                                                     United States Attorney


                                      By:            /s/ Clare P. Wuerker
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Case 2:18-cv-00435-EWH-RJK Document 61 Filed 12/20/24 Page 2 of 3 PageID# 383




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                                          COMMONWEALTH OF VIRGINIA


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                                      2
Case 2:18-cv-00435-EWH-RJK Document 61 Filed 12/20/24 Page 3 of 3 PageID# 384




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Dated: December 20, 2024




                                      3
